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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 17-24624-CIV-COOKE/GOODMAN

   SECURITIES AND EXCHANGE COMMISSION,                        )
                                                              )
                                 Plaintiff,                   )
                                                              )
   v.                                                         )
                                                              )
   ROBERT H. SHAPIRO, et al.,                                 )
                                                              )
                                 Defendants.                  )
   __________________________________________________________ )

                PLAINTIFF’S NOTICE OF RECEIPT OF EXECUTED CONSENTS

           Plaintiff Securities and Exchange Commission, pursuant to the Court’s Order

   Administratively Closing Case Upon Notice of Settlement [DE 152], hereby notifies the Court

   that the Commission staff received executed Consents from all remaining Defendants and all

   Relief Defendants.1 Thus, as indicated to the Court, the undersigned will now begin the process

   of submitting the terms of these settlements to the five-member Commission in Washington,

   D.C. for their consideration. In accordance with the Court’s Order, the undersigned will notify

   the Court on or before August 17, 2018 whether the Commission has approved the settlements.

                                                  Respectfully submitted,

   Dated: June 15, 2018               By:        /s/ Russell Koonin & Christine Nestor
                                                 Russell Koonin & Christine Nestor
                                                 Senior Trial Counsel
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                                                 FL Bar No.: 474479; FL Bar No. 597211
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   1
     There is one minor issue outstanding as it pertains to Relief Defendant Woodbridge Realty of Colorado, d/b/a
   Mercer Vine. Though Robert Shapiro and his counsel have executed the original version as initially provided by the
   Commission staff, on June 7, 2018, the Commission staff provided an updated version which included an extra
   provision. To date, the Commission staff has not received the updated version which they require, and as of this
   filing, have not received assurance that they will receive it. However, the Commission staff is optimistic they will
   receive it as amended. In the event it is not received by June 22, 2018, the Commission staff will notify the Court
   that settlement has not been reached as to this Relief Defendant.
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                                          Attorneys for Plaintiff
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                                          801 Brickell Ave., Suite 1800
                                          Miami, Florida 33131
                                          Telephone: (305) 982-6300
                                          Facsimile: (305) 536-4154




                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 15, 2018, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF.


                                                      /s/ Russell Koonin_____
                                                      Russell Koonin, Esq.




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